Case 8:24-cv-01205-ABA Document 23 _ Filed 06/07/24 Page1of3

AO 399 (01/09) Waiver of the Service of Summons

UNITED STATES DISTRICT COURT

for the
District of Maryland [=]
LESTER LEE )
Plaintiff }
v. } Civil Action No. 8:24-cv-1205
BROOKSIDE PARK CONDOMINIUM, INC. et al. )
Defendant )

WAIVER OF THE SERVICE OF SUMMONS

To: Richard Rosenthal, Esq.
(Name of the piaintiff's attorney or unrepresented plaintiff)

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity 1 represent, will keep all defenses or objections to the lawsuit, the court’s
Jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

| also understand that I, or the entity | represent, must file and serve an answer or a motion under Rule 12 within
60 days from Dune 3, 2c24 , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date: @ /5/ 2024 e~— 2 db (S!

Signature of the attorney or unrepresented party

BROOKSIDE PARK CONDOMINIUM, INC. Anthony, D. Dwyer

Printed name of party waiving service of summons Printed name

aned. w/t ReCrisir

7248 Pathway Drive yth Flor
Hanna »MDb 21% - 1474

Address
Awe @ eva. com

E-mail address

(Yo) - 162-7414

Telephone number

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

“Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.

Ifthe waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

Ifyou waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case 8:24-cv-01205-ABA Document 23 Filed 06/07/24 Page 2of3

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Date: G /5/ 224 Jos-—— >p-—— (Signed fe ae

Signature of the attorney or unrepresented party

RAMMYAZOULAY Anthony DB Dwvser

Printed name of party waiving service of stummons Printed name

1246 Parkway Drive 4th Ff

Han Ver,» M 2loje~ 147
AWser@ ewe. com

E-mail address

(40) -Ts2- 74

Telephone number

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. (SSi
Date: © /S/ 2cey e———$) 2 — (Sioned w/t FPefrn ”n)

Signature of the attorney or unrepresented party

Metropolis (AKA MCM, Inc.) Antheny D- Dv wer

Printed name of party waiving service of stunmons Printed name

7240 Parkway Driv 4 lcof
mean Mh Zola 137%
Address

dWyec@ ewva, com

E-mail address

(YJo) Js2- 7474

Telephone number

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